Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 1 of
                                                                            ? 28

                                                                 FILED BY            D.C.

                     U N ITE D STA TE S D IST R IC T C O U R         HAï 23 2025
                                                                     çtllbll'lï?'
                                                                                l:
                     SO U TH ER N D lS            O F FL O RID
                                                    -
                                                                     S.D.OFFLA.-MIAMI

   C ase N o.1:25-cv-20465-BB

   W AN R. FREITES C., M IGUEL ENRIQUE OTERO, and JORGE ALEJANDRO
   R O D M G U EZ,

     Plaintfjj'
              ,


   HoM clo M EDI#A,etaI.,
     Defendants.
                                              /


   PLA IN TIFFS' EXPEDITED PO ST-JUD G M ENT M O TION FO R SAN CTIO NS

   PO ST-JUD GM EN T M O TION FO R G RIEVA N CE CO M M ITTEE REFER R AL,

   SANCTIONS, FORM AL RULING ON DISQUALIFICATION AND REQ UEST
   FO R EV IDENTG RY H EAR ING .
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 2 of 28




  Plaintiffs Ivan R.Freites C., M iguel Enrique Otero, and Jorge Alejandro Rodriguez
   (collectively,GplaintiffsH), appearing pro se,respectfully move this Court pursuantto its
  inherentauthorityand S.D.Fla.L.R.11.1(c)foran order:
  (1)Referring counselforDefendantHoracio M edina,theIaw frm Diaz,Reus& TargLLP
  (RDRT''I and its attorneys to the Court's Grievance Committee for investigation of serious
  ethicalviolations;(2)Imposing sanctionsagainstDRT and itsattorneysforconflict-of-interest
  misconductand related litigation abuse;and (3) Issuing apost-judgmentruling on Plaintiffs'
  M otion to Disqualify Counsel (DE 30) and Supplemental Motion to Disqualify (DE 144),
  recognizingthatDRT wassubjecttodisqualification andshouldnothaveappearedinthismatter.
  Pursuantto thisCourt's inherentauthority,28U.S.C.j 1927,Rule 11oftheFederalRulesof
  CivilProcedtlre,and Southern DistrictofFlorida LocalRule 7.1(d),Plaintiffsrespectfully file
  this Expedited M otion and Rçqueqt for'Evidentiary Hearing. Expedited consideration is

  warranted because thepost-judgmentmisconductalleged- including continued pm icipation of
  conflicted counsel,use ofprivileged and potentially improperly obtained commtmications,and

  obstruction ofjudicialproceedings- posesongoingandirreparableharm totheadministration of
  justice.Plaintiffs further requestthatthe Courtsetan evidentiary hearing to adjudicate these
  contested issues offact,w hich camlotbe resolved solely on thew ritten record.The relief sought

  is necessary to protect the integrity of this Court's orders, enstlre com pliance w ith ethical

  obligations,andpreservethePlaintiffs'rightstmderthejudgmentandapplicablelaw.
                                 Introduction and Background

  This m otion arises from an ab initio nagrant conm ct ofinterest and breach of ethicalduties

  by DRT LLP,with theaccessoryhwolvementofitsattorneyGâborGazsôvonM ingspor(Gazso
  or Gazstg. DRT previously engaged in privileged attorney-client conversations with


                                                                                               1
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 3 of 28




  Plaintiff Jorge A . R odriguez in substantially related m atters and thereby acquired

   conndentialand privileged information from Plaintiffon acriticalsubjectofthisIitigation,
  including the wrongfulactions in obstruction ofjustice and other wrongs ofDefendant
  M edina with respect to Plaintiff Rodriguez and the associates of Plaintiff Rodriguez as

   described in DE 30. Despite this pre-existing duty of confidentiality, DRT later accepted

  representation directly adversetoM.
                                    1:Rodriguez-representingDefendantHoracioMedina(and,
  upon evidence and belief,providing colm selthe PDVSA Ad HocBoard and othersaligned with

  M r.M edina)againstM r.Rodriguezin thiscaseandotherrelated casesin thisCourtand in the
  District of Delaware withoutM r.Rodriguez's consent.This conductviolated DRT'S tiduciary

  and ethicalobligations to its former client and is expressly prohibited by Florida's Rùles of

  ProfessionalConduct. During Iate2023 and early 2024,M r.Rodriguez consulted with DRT

  regarding a closely related dispute thatclearly included the m atter ofthis Iitigation.During

  those consultations,M T.Rodriguez shared privileged,sensitive information aboutthe factsand

  legal strategy - information which DRT acknowledged in writing that was contidentialand '

  w ithin the scope of an attom ey-client relationship. DRT'S attorneys w ere ftllly aw are of the

  privileged nature and subjectmatterofthese communications.No waiverorinformed consent
  w as ever given by M r.R odriguez for DRT to use this inform ation or to represent any party

  adverseto him.UnderFlorida BarRule 4-1.6 (Conldentiality)and4-1.9 (ConflictofInterest:
  FormerClient),DRT hadacontinuing dutynottorevealormisuseM r.Rodriguez'sconfidences
  and not to representa new client in a m atter adverse to M r.Rodriguez that is the sam e or

  substantially related to the prior matter without M r. Rodriguez's inform ed consent.DRT

  nonetheless appeared in thiscase on behalfofdefendantsdirectly adverse to M r.R odriguez,

  thereby breaching its duty ofloyalty and confdentiality and creating an unwaivable contlictof



                                                                                                2
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 4 of 28




   interestand furtherm ore apparently advised other individualsadverse to Rodriguiz in a related

   case previously heardby Hon.Judge CeciliaAltonagain thisDistrict.M oreover,DRT worsened

   this connict by assigning attorney Gébor Gazsé von Klingspor (Gazsé)to its litijation
   team ,despite hisown tiesto the m atter.M r.Gazs6 isthe son ofattorney AndrésGazsôH azsos,

   who had a professionalrelationship with M r.Rodriguez and received privileged information

   from him on the matter athand.In fact,Mr.Gâbor Gazsô joined DRT in 2024 afterthose
   2023-2024 confidentialdiscussionswith M r.Rodriguez had taken place.Beforejoining DRT,
   Mr.Gazsô (through hisprevious f117M and association with hisfather)had accessto Plaintiff
   Rodriguez's contidentialinformation.Notwithstanding thisobviousconflict,DRT assigned M r.

   G azs6 to w ork on this and other cases against M r. Rodriguez, directly opposing the very

   individual whose secrets he (and his family firm) had obtained.This reckless assignment
   dem onstrates a clear disregard forconflictscreening practices and a willfulviolation ofethics

   rules, further tainting the entire defense team. Under Florida Bar Rule 4-1.10 (lmputed
   Disqualification),Mr.Gazsô'sconflictisimputed to a11DRT attorneys,exacerbating thetsrm's
   ethicalbreach. Cnzcially,DR T never disclosed these connicts or its prior relationshipsto the

   Courtorto Plaintiffs,on thecontrary asevidenced in DE 144,DRT jointly with SardiLaw
   intended to conceal the identity of attorney G azso and the association of D R T and Sardi

   Law against M r. Rodrlguez, as DRT was jointly through at Ieast attorney Gazso,
   participating in the case presented to judge M tonaga. ltwasonly through Plaintiffs'own
   diligence that the conflict cam e to light. DRT'S strategic concealm ent of its access to M r.

   Rodriguez's confidentialinformation compounded with theuntruthfulaffirmations(orskaight
   lies)presented to thecourtin theirresponsetoDE 30- andofM r.Gazsô'spersonalcormections
  -
      allowed the firm to maintain itsrole in the casethrough summary judgment,to Plaintiffs'
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 5 of 28




   severeprejudice.By failing to comeforward with thisinformation,presenting falsestatements
   with respect to the previou'
                              s professional relationship with Plaintiff and the violation of

  privileged consultations, DRT violated its duty of candor and faim ess to the tribunal.By

   intending to concealfacttzalissueson these conflicts itworsened itssituation.Thefinn'ssilence

   and obfuscation werenotinnocentoversights,butacalculated effortto m islead theCourtand

   gain an unfairadvantagein thelitigation asevidenced in DE 30 and DE 144.Additionallayers

   oftmdisclosed influence furtherunderscore the severity ofDRT'Sm isconduct.Throughoutthis

   case,DRT and co-counselSardiLaw PLLC appeared to becoordinating theirrepresentation of

  the defendantswith the interestsofthe PDVSA Ad H ocBoard and itsrelated entity,CITGO

  Petroleum C orporation, even though those entities w ere not form ally nam ed as parties.For

   example,in Aprll2025,Defendants(through SardiLaw)fled aRule7.1CorporateDisclosure
   and Certificate oflnterested Persons(ECF No.88)thatomitted any referencetoPDVSA Ad
  H oc or CITGO ,despite evidence thatone orboth were ftm ding,coordinating,ordirecting the

  defense. Indeed, Plaintiffs discovered that DRT was using an internal em ail account

  tçpdvsaadhoc@ diazreus.com'' in connection with litigation communications - including
  com m unications regarding a forthcom ing contem plated Rule 11 sanctions m otion.The use ofan

  emailaddressplainlyreferencing PDVSA Ad Hoc(hostedon DRT'Sowndomain)isasmoking
                                  N
  gun indicating that PD V SA A d H oc personnelw ere actively involved in the defense's strategy

  andcommunications.SeveraloftheDefendants(e.g.,DefendantHoracio M edina)areknownto
  have held leadership rolesin the PDVSA Ad Hoc Board (president),furtherblurring the line
  between the nam ed Defendants and the non-party entities in the background.Yet,none ofthis

  w as disclosed to the Courtasrequired. Plaintiffs prom ptly raised these transparency issuesupon




                                                                                                4
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 6 of 28




   discovely OnApril15,2025,PlaintiffFreitesfled aNoticeofDisclosureDelkiency (DE 95)1
   fonually alerting the CourtthatDefendants'disclosure statem entfailed to mention PDV SA Ad

  Hoc or CITGO despite their apparent involvement,which DRT attempted to sjrike from the
   litigation.Plaintiffs also reached out to defense counsel to confer on this issue,requesting

   confirm ation or clarification of PDVSA Ad Hoc and CITGO 'S role.CounselCarlos Sardi's

   response was a dismissive GFile your ow n-''No supplementaldisclosure was everfiled,and

  Defendantspersisted in concealing the extentofPDVSA Ad Hoc'sparticipation.In lightofthe

  pdvsaadhoc@ diazreus.com emails, Plaintiffs were justifiably concemed that a sovereign
   instrumentalities' involvement w as being hidden from the Court, in violation of current

  interpretations of Fed. R.Civ. P. 7.1 and the Court's Local Rules requiring f'ull disclosure of

  interested entities.Plaintiffsthereforeserved aform allitigation-hold letterto DRT on April18,

  2025, dem anding preservation of a11 comm tmications and docum ents related to the

  pdvsaadhoc@ diazreus-com account. This preservation demand explicitly noted that the
   inclusion of the PDVSA Ad H oc em ail account in Rule 11 sanction comm unications was

   tç
    potentially material to: conflict of interest analysis, Eandj tmauthorized participation of
   sovereign instrumentalities''among other issues.DRT'S knowledge ofthis dem and,and ofthe

  tm derlying issue, m akes its continued silence even m ore indefensible. D espite the glaring

  conficts and ethical red tlags, DRT continued to represent the D efendants through the

  conclusion ofthecase.Plaintiffsfiled atimely M otion toDisqualifyDRT (DE 30)earlyin the
  case,detailing the prior contidentialrelationship and conflictofinterest,and attaching a swol'n

  declaration from M r.Rodriguez and correspondenceprovingDRT'Sknowledgeoftheprivileged

   information.Thatm otion persuasively argued thatDRT'Sconflictwas unwaivable absentM r.

   1DE gs:plainti
                ffIvan Freites'Notice ofDisclosure Deficiency and Certi
                                                                      ficate ofUnresolved Conferral
   Pursuantto LocalRule 3.03and Rul
                                  e 7.1(a)(3)
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 7 of 28




   Rodriguez's informed consent (which was never given or even asked for) and that
   disqualitk ation wasrequired topreservethefairnessand integrity oftheproceedings.W hilethat

   motion waspending,on M ay 8,2025,Plaintiffsfiled afurtherExpedited M otion to Disqualify

   attorney Gébor Gpzs6 von Klingspor and for Combined Evidentiary Hearing (DE 144),
   supplem enting the e'arlier m otion. Said m otion detailed M r.Gazsé's im proper involvem ent and

   emphasized that,pm suant to Rule 4-1.10,the G azso conllict additionally extended to the

   entire DRT llrm ,warranting disqualitk ation ofthecomplete defenseteam on top oftheM arch

  DE 30 m otion that also warranted complete disqualification of DRT. Ultim ately,before the

   Courtluled on the disqualitk ation m otions,thiscéseproceeded to aresolution on them erits.On

  M ay 16,2025,the Courtentered FinalJudgm ent.ln itsFinalJudgm ent,the Courtdenied aII

  pending motions as moot,including Plaintiffs'M otion to Disqualify DRT (DE 30)and the
  Expedited Motion to Disqualify GâborGazsô(DE 144),withoutreaching the meritsofthose
  m otions.A s a result,the serious ethicalissuesraised therein w ere leftformally unresolved,even

  though the conflicthad permeated the proceedings.Plaintiffs now bring thispost-judgment
  motion to enstlrethatDRT'Smisconductdoesnotescapereview merelybecausejudgmentwas
   enteredbeforethe contlictwasadjudicated.TheCourt'sinherentsupelwisory powersand Local
  Rule 11.1provideampleauthoritytoaddressattorney misconductafterjudgment,especially
  misconductthatmay havetainted thejudicialprocessitself.Plaintiffsseek appropriatereliefto
  vindicate the integrity ofthe C ourt's processes. Plaintiffsreserve a1lrightsw ith respectto any

  additionalmisconductby co-counselSardiLaw PLLC,PDVSA ad hoc,or any otherpersohs,

  individuals orcorporations,which arenotthefocusofthism otion.Theemphasishereison DRT

  and M r.Gazs6's egregious contlict of interest and ethical breaches,which m erit the Court's

  im mediatçattention andremedialaction.



                                                                                                  6
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 8 of 28




                               A rgum entand M em orandum ofLaw

  1.A pplicable EthicalStandards and the C ourt's Authority

  A ttorneys practicing before this C ourt are bound by the Florida R ules of Professional

  C onduct,which are explicitly incop orated as the standards ofprofessional conductunder S.D .

  Fla.LocalRule 11.1(c).An attorney'sdutyofloyaltyandconfidentialitytoafonnerclientisa
  bedrock principleofthosestandards.FloridaBarRule4-1.9(a)pr'
                                                            ovidesthatalawyerwho has
  formerly represented a client shall not thereafter represent another client in fçthe sam e or a

  substantially related m atter''if that client's interests are Gdm aterially adverse''to the form er

  client,unlesstheformerclientgivesinformedconsent.Rule4-1.9(b)furtherprohibitsthelawyer
  from using any inform ation relating to the form er representation to the disadvantage of the

  former client.Rule 4-1.6 likewise mandates that a lawyer mustnot reveal or use a client's

  confidences without consent.These rules collectively ensure that a client's trust- in sharing

  sensitive information with counsel - will not later becom e a weapon used against them .

  lmportantly,tmder Florida 1aw and professionalnorms,when a former-clientconflictis shown

  (i.e. the matters are substantially related and interests adverse), there is a Rvirtually
  unrebuttableo presum ption that conndences w ere disclosed to the attorney dlzring the prior

  representation. This tpresum ption reflects the reality that clients typically share a11 pertinent

  inform ation w ith their law yers; it exists to prevent any inquiry into the actual contents of

  privileged commtmications (which would itself undermine confidentiality). Thus, once a
  substantialrelationship between the currentand formerm atterisdemonstrated,disqualilk ation

  is ordinarily m andatory - the attorney is assum ed to possess the form er client's confidential

  inform ation,and any doubtisresolved in favorofprotecting clientconfidencesandtheintegrity

  ofthejudicialprocçss. Florida Bar Rule 4-1.10(a) extends the former-clientconflictto the


                                                                                                  7
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 9 of 28




  attorney's entire filnn:attonzeys associated in a firm Gshallnot knowingly represent a client

  when any one ofthem practicing alone would be prohibited from doing so''by the contlict

  rules,unless the personaldisqualification isbased on certain limited exceptionsnotapplicable

  here.In other w ords, an attorney's connict is im puted to their nrm .The rule's purpose is to

  preventa firm from circum venting the contlictnzlesby assigning a tainted matter to another

  law yer in the sam e tinu. A ll DRT attorneys w ere therefore collectively disqualifled from

  opposingM r.Rodriguezonceanyoneattorney (here,multipleattorneys)inthe51-111hadreceived
  M r.Roclriguez'sconfidentialinformation.The only potentialescapefrom imputation - atim ely

  and effective screening ofthe disqualified lawyercoupledwith noticeto theformerclient- was

  not even attempted by DRT. To the contraly DRT intentionally placed an additionally

  disqualilled lawyer(M r.Gazs6)on theteam,defeatinganynotionthattheconflictcouldhave
  been dtcured''by a screen. Beyond the RulesofProfessionalConduct,this Courthasinherent

  authority to supervise the attorneys who practice before it and to enslzre the faim ess of

  proceedings.This includes the pow erto disqualify counsel for conflicts of interest,to sanction

  attorneys for m isconduct, and to refer ethical violations for disciplinary review .The Court's

  inherentpow erto protect the integl'ity ofits proceedings w as fam ously recognized in Cham bers

  v.NASCO,Inc.,501U.S.32 (1991),whichupheldadistrictcourt'sauthoritytoimposesanctions
  for bad-faith litigation conduct even after the case had concluded. The Southem D istrict of

  Florida'sLocalRules also establish a mechanism forattorney discipline:LocalRule 11.1(c)
  provides thatan attorney w ho violates the Florida Bar Rules in connection w ith a case <dm ay be

  subjected to appropriate disciplinary actions'.Such action can includereferraltotheCourt's
  Ad Hoc Committee on Attorney Grievance(theGrievanceCommittee)forinvestigation and
  recomm endation of discipline. In short, this Courtnot only can address DRT'S m isconduct



                                                                                                 8
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 10 of 28




   post-judgment- itshould doso to uphold thestandardsofprofessionalconductandpublictrust
   inthejudicialprocess. Finally,FederalRule ofCivilProcedure11and 37,aswellasS.D.Fla.
   Local Rule 3.3,reinforce the Court's authority to sanction abuses and non-compliance with

   disclosure obligations. It is to highlighted that conferal correspondence sent from D RT to

   Plaintiffs in A pril 2025 revealed the PD V SA A d H oc involvem ent, im plicating ethical and

   Rule 11concerns.Likewise,Rule 37 empowersthe Courtto rem edy failuretopreselweevidence

       hence Plaintiffs' preservation letter regarding the pdvsaadhocl diazreus.com
   com m unicationsz.In evaluating the sand ions here,the Courthas a broad palette of authority,

   ranging from its inherentpow erand localnzles to the sanctionsprovisionsofthe FederalRules.

   II. DR T O wed Plaintiff R odriguez a D uty of Confidentiality and Loyalty, W hich It

   B reached by A ccepting an A dverse R epresentation

   ltisundisputed thatDRT had an attorney-clientrelationship with PlaintiffRodriguez(in
   addition to a clear privileged prospective-clientrelationship in the maders ofthiscase)
   prior to undertaking the defense of M edina. M r. Rodriguez's unrebutted declaration and the

   correspondence attached to D E 30 confirm that in 2023-24 he consulted D RT attom eys

   regarding a m atter thatissubstantially related to the claim s and defensesin thislaw suit.ln those

   com m tm ications, M r. R odriguez divulged sensitive factt
                                                             zal inform ation, legal theories, and

   strategic considerationsto DRT with the reasonable expectation thatthe fsrm was acting (or
   would act) as his counsel.DRT'S own communications acknowledged the privileged and
   confidentialnature ofthe discussion.Thisgave rise to a form er-clientrelationship forconflict

   of interest purposes - m eaning D RT w as thereafter barred by R ule 4-1.9 from representing a

   different clientagainstM r.R odriguez in any m atter that is the ûdsam e orsubstantially related''to


   2See EX H IBIT:Plaintiffs'preservation Ietter dated A pril18th,2025 addressed to D iaz
   Reus& TargLLP (DRT)regardingthepdvsaadhoc@ diazreus.com communications

                                                                                                     9
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 11 of 28




   what M r.Rodriguez consulted them about. There can be no doubtthat the present case is

   substantially related to the subjectofDRT'Spriorrepresentation ofM r.Rodriguez.Although
   thefu11detailsofMr.Rodriguez'sconfidentialcommunicationswithDRT are(appropriately)not
                                                                                     t
   divulged in public filings,the broad contoursofthe overlap are clearfrom therecord.Theprior

   consultation concerned disputes involving the obstructive and defam atory actions by

   D efendant H oracio M edina ongoing at the m om entof consultation between R odriguez and

   DRT,the assets and governance of PDVSA Ad Hoc Board,itsofticials,and actionstaken with

   respectto PDVSA/CITGO,- essentially the same subjectmatterin controversy here.ln this
   lawsuit,Plaintiffs(including Mr.Rodriguez)challenged actionsand statementsby Defendants
   (including M r.M edina,the Ad Hoc Board President).Thealignmentofpartiesand interestsis
   such thatDRT switched sides:itwentfrom advising orhe>ringconfidencesfrom M r.Rodriguez

   abouthow he m ightptlrsue legalaction againstthoseinvolved in theM edinaand/orPDV SA Ad

   Hoc Board'sm aneuvers,to representing the very individuals and interests opposed to M r.

   Rodriguez in thatarena.Theepitomeofa Edsubstantially related''m atter,ifnotthe sam em atter.

   Florida courts apply a strict standard in such circum stances,recognizing thateven apossibility

   of m isuse of confidences is intolerable. Once the form er client show s the relationship and a

   sim ilarity between the m atters,the 1aw presum es that confidentialinform ation w asconveyed

   to the attorney in the lrst m atter. H ere, that presllm ption is not only unrebutted - it is

   affirmatively supported by evidence (Mr.Rodriguez acmally provided confidencesto DRT).
   DRT'Scontinued representation ofDefendantsagainstM r.Rodriguezisthusflatly prohibited by

   Rule 4-1.9. N o inform ed consent w as sought or obtained from M r.Rodrigtlez to w aive this

   conflict,andgiven thedirectadversityand overlappingsubjectmatter,itishardto imaginehow
   such a conflictcould ever be consented to after-the-fact.The connictwasunwaivable absent



                                                                                               10
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 12 of 28




   M r. Rodriguez's explicit agreement, which he never gave. By proceeding in these

   circum stances,DRT betrayedM r.Rodriguez'trust,andplaced him atagrave disadvantage.DRT

   attom eyshad insightinto M r.Rodriguez'sknowledge,thoughtprocesses,and hislegalstrategies

   orweaknesses,allacquired undertheguise ofhelpinghim.N ow,in theemploy ofhisopponents,

   DRT could (intentionally or not) leverage thatinsightto shapethe defense'stactics.Florida
   Rule 4-1.9(b)expressly forbidsusing a former clientgsinformation totheirdisadvantage,
   yetDRT putitselfin a position w herethatwasinevitable.Even ifone charitably assum esthat

   DRT triedto compartmentalizetheinformation (whichtmdisputably didnotevenattempttodo),
   the risk of subconscious use or disclosure is inherent and inescapable. That is w hy

   disqualification rules exist - to prevent the attorney from being in such an impossible

   position in the first place,atld to assure the former clientand the public thatthe process is

   tmtainted. In short,DRT'Srepresentation ofDefendantM edina (and others alignedwith him)
   against M r.Rodriguez was a clear violation ofRule 4-1.9 and an ethicalbreach of the flrst

   m agnim de. It required disqualifk ation from the outset of this case. Plaintiffs' M otion to

   Disqualify (DE 30)setforth thesefactsand1aw indetail,anditshouldhavebeen grantedonthe
   merits had the Courtreached it.By ignoring DRT'Sconflicttmtilthe caseconcluded,Defendants

   effectively gotthe benetk ofconflicted counselthroughoutthe litigation - asimation thisCourt

   isprayedtocorrectte oughpost-judgmentremedies.
   111.D R T'S A ssignm ent of G ébor G azsé to this M atter D em onstrates W illfulD isregard for

   EthicalW allsand Im puted C onllicts

   Even beyond DRT'S firm-wide form er-clientcontlict,theethicalbreach wascompoundedby the

   assignment of Attom ey Gâbor Gazsô von Klingspor to this case.A s detailed in Plaintiffs'
                           ).

   supplementaldisqualifkation motion (DE 144),M r.Gazsô wasnotaneutrallateaddition- he


                                                                                               11
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 13 of 28




   arrived at DRT already in possession of Plaintiff Rodriguez's confidential inform ation.His

   father,Andrés Gazsô Hazsos,previously advised M r.Rodriguez in m attersdirectly tied to this

   litigation,and M r.G azsô,through fam ily and professionalassociation,had access to privileged

   details. H is prior f11711 had a know n relationship w ith M r.R odriguez,m aking him a Gdw alking

   conflict-''

   UnderFlodda Bar Rule 4-1.10(b),a til'
                                       m may notrepresenta party in a substantially related
   m atter adverse to a former client of a newly hired attorney who has m aterial confidential

   krlowledge- lmless thatattorney is screened and notice isgiven.Here,assum ing arguendo DRT

   considered this a prior-firm conflict, it nonetheless failed to im plem ent any screen.On the

   contrary, it affirmatively placed M r. G azsô on the litigation team adverse to M r.R odriguez,

   ensuring use ofhisinside lcnowledge.No notice orconsentwassought,and M r.Gazs6 directly

   participated in m otionsand casestrategy.

   This w as not m ere oversight it w as a deliberate ethicalviolation.A s courts have m ade clear,

   firm s m ust erect dstim ely and effective screens''to preventprecisely this situation.D RT did the

   opposite.M r.Gazsô'sinvolvementimputedhisconflictto theentirefirm tmderRule4-1.10(a),
   com pqunding D RT 'S independent disqualitk ation from prior representation of M r.Rodriguez.

   Eithergrotmd alonem andatesdisqualification;together,they underscoreDRT'Swillfuldisregard

   for its ethical obligations.DE 144 em phasized thatM r.G azsô's presence introduced additional,

   disqualifying elem ents.DRT'Sconductretlects a consciouschoice to prioritize tacticaladvantage

   overprofessionalduty.

   IV. DRT (and Co-counsel) Concealed Their Access to Conlidential Information and
   Third-party C ontrol,Underm ining the Fairness ofthe Proceedings




                                                                                                   12
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 14 of 28                  I




   Not only did DRT violate the conflict-of-interestrules,butitalso failed to disclose m aterial

   inform ation and relationshipsthatshould havebeen broughtto theCourt'sattention.Thislack

   ofcandorcompounded the ethicalbreach and prevented timely rem ediation.First,DRT never

   inform ed the C ourt or Plaintiffs of its prior interactions w ith M r.R odriguez.The proper

   course,when DRT was approached to representDefendants againstM r.Rodriguez,would have

   been to decline the representation outright.Failing that,ata minim um ,DRT should have

   imm ediately notined aIIparties and the Courtof the conllictand withdrawn.lnstead,DRT

   secretly took on the representation and hoped the connictwould rem ain hidden.ltdid notlist

   M r.Rodriguezasaformerclientin any initialdiscloslzrestotheCourt(such asin any Rule7.1
   disclosuresornoticesofconflict,ifany).Itsignedpleadingsandpapersasifnoconflictexisted.
   This lack ofdisclosure is aseriousethicallapse in itself- itshowsconsciousavoidance ofthe

   issue.The firm 's silence was fmally broken only when Plaintiffsdiscovered the tnzth and filed

   their disqualification motion.Even then,DRT opposed disqualitk ation,effectively denying that

   any real conflict existed. In doing so, D RT forced Plaintiffs and the Courtto engage in a

   protracted dispute thatshould neverhave been necessaly furtherabusing thejudicialprocess.
   Critically,at the m om ent of filing DE 30,Plaintiffs were notaware ofthe ççrealidentity''of

   attomey Gazsô,asapparently said attorney haschanged liisfamily name(frpm Gazsé Bello
   to Gazs6 von Kllngspor) which was concealed until visually ldentilled and even inidally
   denied and then evaded w hen directly questloned by Plaintiffs in late Aprilas explained in

   DE 144. Second,and relatedly,DRT and SardiLaw concealed the involvem entofPDVSA

   Ad H oc and CITGO in thislitigation,in violation ofthetransparency requirem entsofRule7.1

   and theCourt'slocalrules.W hen corporate ororganizationalinterests(especially a non-party
   thatisfunding ordirecting litigation)are in the backgrotmd,thoseintereststypically mustbe


                                                                                              13
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 15 of 28




   disclosed in a CertiticateoflnterestedPersonssothattheCourtcan assessany potentialconflicts

   and the public is aw are ofwho therealparties in interestare.Here,given thatm any Defendants

   were m embersoragents ofthePDVSA AdHoc Board,and given theem ailevidenceofPDVSA

   A d H oc oversight,there should have been fulldisclosure thatPDV SA A d H oc and/or CITG O

   have a stakein the outcome.lnstead,Defendants'CertificateofInterested Persons(ECF No.
   88)filed by SardiLaw and which DRT moved to strikeomittedanymention ofPDVSA Ad
   Hoc or CITGO.This om ission and attemptto strike appearsto be a deliberate strategy to keep

   the tnze puppet-m asters behind the curtain.By doing so,defense counselavoided potential

   questions from the Courtabout those entities'role,and possibly avoided the need for those

   entitiesto officially appear(and be subjectto discovery orjurisdiction). Plaintiffs'Noticeof
   Disclosure Defkiency (DE 95) lays outthe concern clearly:Plaintiffs cited the ''defense
   electronic correspondence referencing àdvsaadhoc@diazreus.com '
                                                                 , a clear indication that
   PDVSA Ad Hoc isfunctionally involved in the conductor oversightof the litigation.''.The
   N otice w arned thatthe om ission ofPDV SA A d H oc and CITGO Gçraisesa significantcom pliance

   issue''under the disclosure nlles.ln response,rather than come clean,defense cotmsel(M r.
   Sardi)tersely replied,<çFile your own'',refusing to clarify or correctthe disclosures.Such a
   response falls far short of the good faith expected in confen'
                                                                al tm der Local Rule 7.1, and it

   signals an unw lllingness to engage on a m atter that goes to the integrity of the process.In

   other w ords,defense counselhad no rebuttal- they sim ply stonew alled,effectively adm itting

   thatsometùing wasafoulbutdaring Iqaintiffsto chase it. DRT'Sroleinthisconcealment
   cannot be overstated. The pdvsaadhoe@ diazreus.com emailsuggests thatDRT itself was
   hosting or facilitating com m unications for the A d H oc Board in relation to this case.D RT

   wasnota passivebystanderto SardiLaw'snondiscloslzre;DRT wasactively in league with the



                                                                                              14
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 16 of 28




   undisclosed third party.This raises additionalethicalquestions:If DRT was effectively taking

   direction from PDVSA AdHocorCITGO (entitieswhich itdidnotformallydiscloseasclients),
   then DRT may havebeen violatingdutiesofcandorto thetribunal(Ru1e4-3.3)and faim essto
   opposing party (Ru1e 4-3.4) by masking the true interests atplay.There is also a hint of
   champerty/maintenanceconcernsifanon-party (CITGO)wascontrollinglitigation without
   accountability. A t the very Ieast, DR T and Sardihad a duty to inform the C ourt of any

   lnancialor strategic supportby a non-party organization.Theirfailtzre to do so deprived the

   Courtoftheopportunity to inquireintopotentialconflicts(forexample,iftheCourtoranyparty
   had any aftiliation with CITGO orthe Ad HocBoard)and deprivedPlaintiffsoftransparency
   aboutwho wascalling the shotsforDefendants. In sum ,DRT'Sm isconductwasnotlim ited to

   substantive conflicts ofinterest;itextended to proceduralgam esm anship thatundermined the

   integrity ofthese proceedings.By concealing crucialinformation - theirown priorrelationship

   w ith a party, and the involvem ent of pow erful third-party entities - DRT and its co-counsel

   obstructed the Court's oversight of ethical and procedural com pliance. This pattern of

   concealm ent is further evidence ofbad faith.Itdem onstrates that DRT knew its conductcould

   not w ithstand scrutiny, so it sought to avoid that scrutiny altogether. Such behavior is

   sanctionable in its own right.Courts have inherentpow er to sanction attorneys w ho Rw illfully

   abuse thejudicialprocess''oractin bad faith (Chambers,501U.S.at45-46),and concealing
   conflicts or interested parties isundeniably an abuse ofthe process.

   V.PrejudicetoPlaintiffsand theIntegrityoftheCourt
   The ethical violations described above are not m ere technicalities - they go to the heart of

   fairness in this litigation.Plaintiffs have suffered actualprejudice as a result of DRT'S
   m isconduct, and the integrity of the Court's proceedings has been called into question.



                                                                                               15
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 17 of 28




   InformationalDisadvantage:By using an attorney (ormultipleattorneys)whopossessed Mr.
   Rodriguez's confdential information, Defendants enjoyed an inequitable informational
   advantage.Litigation issupposedto bea fairfighton alevelplaying field.Here,DRT armedthe

   defense with the equivalentofthe playbook from Plaintiffs'side.M r.Rodriguez and the other

   Plaintiffs could only speculate how their confidences mightbe used againstthem - perhapsto

   anticipate their legalargum ents,undermine their credibility,or exploitfactualweaknessesthat

   only an insider would know.Even if DRT never overtly introduced a piece of confidential

   inform ation into the record,the strategicbenentofhavingthatknowledge inherently skewed

   the process.Courts routinely hold thatthe appearance ofpossible misuse ofconfidences is

   enough to w arrant disqualitk ation,because the form erclientshould nothave to revealw hatw as

   acm ally disclosed in order to prove a breach.Thatrationale underscores how signilk antthe

   prejudice is:Mr.Rodrigtlezwaseffectively litigating againsthisformerattorneys,who knew
   the contotlrs of his case strategy, etc. U nderm ined Trust in the Judicial Process: D RT'S

   pm icipation despitethe conflictcasta long shadow overtheseproceedings.Plaintiffs(and the
   public)are leftto wonderwhetherthe outcome ofthecasewasaproductofthe meritsorof
   behind-the-scenesunethicaladvantages.Thefactthatfinaljudgmentwasentered withoutever
   resolving the disqualifcation m otions on their m erits m eans there is a lingering question of

   fundamentalfairness.W hen seriousethicalbreachesgotmaddressed,itdiminishesconfdencein
   thecourtsystem.Plaintiffsherejustifiably feelthattheyweredeniedanimpm ialforum,because
   the opposing counsel should neverhave been allowed in the courtroom in the firstplace.The

   integrity ofthejudicialprocessdemandsthatsuchissuesbecongontedhead-on,notsweptunder
   the rtzg as moot. W asted Resources and Procedural Prejudice: Plaintiffs had to divert
   significant time and resources to raise the conflict issue (via multiple motions,expedited


                                                                                               16
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 18 of 28




   proceedings,evidencegathering)in themidstoflitigatingthemerits.DRT'Sintransigenceforced
   Plaintiffs to fight a two-front war:one againstthe Defendants on the m erits,and one against

   Defendants'counselon the issue ofcounsel's very eligibility to participate.This isinherently

   prejudicial.Itstrained Plaintiffs'limited'
                                            resourcesandlikely affected theirabilityto fully focus
   on the merits. M oreover, had DRT been disqualifed early on (as it should have been),
   Defendants may have had to retain new counsel,possibly delaying the case or altering their

   litigation strategy.By plowing forward under a cloud ofconnict,DRT arguably hurried the

   case to aresolution (FinalJudgment)thatmootedthecoM ictissue- aresultthatitselfsmacks
   of tactical m aneuver. Essentially,DRT'S gamble paid off in that they avoided a ruling on

   disqualifkation by reachingthe finish linequickly.Buttheprejudice toPlaintiffsism anifest:
   they lostwithouteverhaving the courtform ally addresswhethertheproceeding wasimproperly

   intluenced by counsel'smisconduct. lmpacton Outcome (Potentially):W hile Plaintiffs are
   notherein seeking to overturnthejudgmentin thismotion (thatwould beamatterforappealor
   separate Rule 60 relief ifwarranted),itis notable thatthe conflictcotlld have had material
   im pact.Forinstance,if DRT'Sknow ledge influenced how D efendantsstrtzctared theirdefense or

   what evidence they focused on, it could have affected the Court's fact-finding or legal

   conclusions.The point is,w e cannotknow for stlre - and thatuncertainty is itself a harm .The

   Eleventh Circuitand Florida courts have em phasized thatdoubts aboutthe propriety ofattom ey

   conduct should be resolved in favor of protecting the litigants and the public's perception of

   justice.Here,thedoubtcutsin favorofrecognizing thatsomethingwentdeeply wrongin this
   case,procedurally. Administration ofJustice:Beyondtheparties,theadministration ofjustice
   in the Southem D istrict of Florida suffers if attorneys are seen to violate rules w ithout

   consequence.The Rules ofProfessionalConductand LocalRulesexistto asstlrethatcases are,



                                                                                              17
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 19 of 28




   adjudicated on themerits,notskewed by conflictsorclandestineiniuences.W hen thosenzles
   are breached,the Court's obligation is to respond firm ly.Otherwise,it sends a signalto other

   attom eysthatsuch sharp practice willbetolerated.PlaintiffsurgetheCourttom akeclearthatit

   willnotcountenance such behavior.Indeed,failing to addressDRT'S conductcould encourage

   others to hide conflicts or back-room influences, which would be a perverse outcome. By

   contrast,a strong post-judgment intervention here willreinforce thatthe ethicalnorm s are
   taken seriously in this D istrict.

   V I.R equestfor Expedited C onsideration

   Plaintiffsrespectfully requestthatthisCourthearand resolve thisM otion on an expeditedbasis

   pursuanttoLocalRule7.1(d)andtheCourt'sinherentauthority.Thereliefrequestedpertainsto
   post-judgmentmisconductthathasongoing consequences,including potentialethicalbreaches,
   interference with furtherproceedings,and the integrity ofthe Court'sdocket.Promptresolution

   willpromotçjudicialeconomy,mitigatecontinuedharm,andenstlrethatnecessarysanctionsand
   referrals are not underm ined by delay. Plaintiffs are prepared to com ply w ith any brieting or

   hearing schedule the Courtmay direct,in advance,Plaintiffsrespectfully pray to the Courtfor

   online participation ofPlaintiffsOtero and Rodriguez duetotheircurrentlocation in Europe.

   V II.Sanctionsand D isciplinary R eferralA re W arranted

   In light of the above, Plaintiffs respectfully request that the Court take rem edial action and

   invoke its inherent pow ers and Local Rule 11.1 to im pose appropriate sanctions and order a

   disciplinary referral.Thereliefrequested isasfollows:

1. Referral to Grievance Com m ittee: Plaintiffs respectfully request thatthe Courtrefer the

   conductofDRT & Targ Llap- including attorneysDiaz,Jr.,Coronado,Colom ar,and Gazs&--to

   the Ad Hoc Comm ittee on Attorney Adm issions,Peer Review,and Attorney Grievanceofthe



                                                                                                18
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 20 of 28




   Southern DistrictofFlorida forinvestigation and appropriatedisciplinary action.Theconductat

   issue demonstrates prim a facie violationsofFlorida BarRules4-1.6,4-1.9,and 4-1.10,aswell

   as apparentbad-faith concealmentof those violations.A formalreview isnecessary to uphold

   the integrity ofthis Court's Bar.

2. M onetary and Litigation Sanctions: Pursuant to the Colzrt's inherent authority, and to the

   extentapplicable,28 U.S.C.j 1927 and Fed.R.Civ.P.37,Plaintiffsrequesttheimposition of
   monetary sanctions suftk ientto deter ft
                                          zture misconductand partially compensate forthe costs

   incurred in litigating the conflictofinterestand related discovery issues.Plaintiffsalso requesta

   fine payable to the Court or altem ative non-monetary sanctions- such as m andated ethics

   training or certitk ation of D RT'S conflicts procedures- to tm derscore the seriousness of the

   abuse.(SeeChambersv.NASCO,Inc.,501U.S.32,43-46(1991).)
3. Post-ludgm ent Ruling on Disqualincation: Plaintiffs ask thatthe Courtform ally rule- nunc

   protuncorpost-judgment--on DE 30andDE 144,holdingthatDRT hadadisqualifying conflict
   and shouldhavebeenbarred from representing Defendants.'l'heCourtretainâinherentauthority
   to supplem ent the record to address collateralethicalviolations.A form alfm ding w illclarify the

   impropriety,supportappellatereview,and mitigateprejudiceby affrmingthatDRT'Sviolation
   ofRules4-1.9 and 4-1.10warranted disqualitk ation.

4. A ccounting of Im proper Com m unicadons: Plaintiffs pray that the Court order D RT to

   provide a full accotmting of a11 com m unications involving the em ail address

   pdvsaadhoc@ diazreus.com,and any involvementby PDVSA Ad Hoc and/or CITGO in this
   litigation,to enslzre transparency and assessundisclosed influence or coordination.

5. ReferralofSardiLaw (Optional): Although thismotion focuseson DRT,Plaintiffsnotethat
   Sardi Law 's role in the nondisclosure m ay independently warrant referral to the Grievance



                                                                                                  19
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 21 of 28




   Comm ittee.Plaintiffsdeferto the Cotlrt'sdiscretion on thatmatter.

6. A dditional R elief and ruling on Plaintiffs' D E 110 on D efendant's D E 107 due to

   Certincate ofConferralcontaining false statem ents: Plaintiffsrequestsuch otherreliefasthe

   Courtdeemsjustand proper,including vacamr oforderstainted by contlicted representation
   where appropriate.The Courtshould also rule on DRT'S false representation of conferralas

   detailed in Plaintiffs'DE 110,as itcompoundsthe ethicalviolationsdetailed herein.Sanctions

   shouldretlectthegravity ofthem isconductand itsimpacton thisproceeding.

   W H EREFORE,Plaintiffs respectfully request that the Courtgrant this motion apd enter an

   order:(1)refening DRT & Targ LLP to the Court'sGrievanceCommitteeforinvestigation of
   ethicalviolations;(2)imposing appropriatesanctionstodeterfurthermisconductandredressthe
   harm caused;and (3)issuingapost-judgmentfinding thatDRT'Sconflictofinterestviolatedthe
   Rules ofProfessionalConductand w arranted disqualivcation,thereby resolving DE 30 and DE

   144 on the merits.Plaintiffsfurtherrequestsuch additionalreliefasthe Courtdeemsjustand
   properto uphold the integrity ofthese proceedings. A proposed orderisattachedhereto forthe

   Court's convenience.

   Respectfully subm itted on M ay,2025

   Ivan R .FreitesC .

   4370 TNW 107 Ave.,A pt.102
                                    T v. w jk..>
   Doral,FL 33178

   /s/M iguelEnrique O tero
                                      '-X '2---
   M iguelEnrkueOtero,ProSe
                                                        '
                                                         Q w.
                                                            N
   /s/JqrgeAlejandroRodriguez
   JorgeAlejandroRodriguez,ProSe


                                                                                          20
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 22 of 28




   Attachm ents:

   E XH IBIT:



   Plaintiffs'preservationletterregardingthepdvsaadhoc@ diazreus.com communications




                                                                                      21
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 23 of 28




   EXH IBIT:

   Plaintiffs'preservationletterregardingthepdvsaadhoc@ diazreus.com communications
    /A
    l7,
     .
     -7û
       l'
        k4
         7k*?)
          ?r '.
              ')
              f'-
                9)
    .n.-,- 'w' .-,-.-- f.'...,-.=., ''
                             .   'v.''. - . .                                m ,             7xmP.   . .-.-,x.,v           .w xq..ve- m- .-=...,w .%- .,,.,,,f-c     = ..-=..-.,m-            yr-          .--
    conferr
          .aIi
             Requ. est.re                    yç l'
                                                 ng .
                                                    M'ot
                                                       .i
                                                        Lon f.
                                                             J
                                                             : lnl
                                                                 'unct.lve'
                                                                          .
                                                                          Rell' '.-'=. N'o..'
                                                                                            '
                                                                                            1t:.
                                                                                               '
                                                                                               . cv-
          .             . :,
                           PIaInt
                                :Iffs'vForthcom              or               ef:   Case       25-
    2i0#46Lt'
    .. ..   ;5,-
             ':BtB'('S.D.
                        c
                        ..
                         Fla,
                            '
                            .
                            .)
                             '                                                                                                                ''
     .   1#t
           zzlj
              ap,
                c
                Jf
                 :s '                                      '
    (.a.O.'. .alnt . . relte.s..œ e. t'
    4                                  p R.odrI    q- .xf.*1(es.'.u..a.dù  .f
                                                                          .y  .1.25.cv-20,    165. bba.u>àl:    .com>'                                 .
                                                                                                                                                       F.R r'.1.
                                                                                                                                                               '
                                                                                                                                                               Bd2025' .
                                                                                                                                                                       at.8:0.'P
                                                                                                                                                                               :M
    To'
    Pd'
    ..  Ja
        A''we
          'I'  r Co
            ln.H;cff
                  eio rr
                       a dôx ldor   tma   k pi  l dtdz fe  tl:
                                                             1c c t
                                                                  ro  '                    '           '      '
       :'
       '  .
          f       ..s.pnva
                       . .'hc,A'lyxpr
                                  k ..yfïzt
                                        u .lcll
                                              ;aA
                                                .œuK..
                                                     .'y..
                                                         ïi'om'
                                                             t
                                                             .,b:.
                                                                 '
                                                                 ..
                                                                 kklsrt'
                                                                  ,     :C.'
                                                                           op.nm,ar''
                                                                                    1'
                                                                                     a&a''
                                                                                         r't'l
                                                                                             'q.'<%.c''
                                                                                                      o1A...
                                                                                                      .     ar.
                                                                                                              -C
                                                                                                               2di
                                                                                                               ss.:.'''a2r.*=è  u''
                                                                                                                                  cbm> Vic'h. è.l2Diâ'
                                                                                                                            ...,. ., ... ., . . . .â 2l
                                                                                                                                                     ,.*MD'ia:
                                                                                                                                                             t
                                                                                                                                                             .f
                                                                                                                                                              #d''
                                                                                                                                                                 Ia
                                                                                                                                                                  Q're'
                                                                                                                                                                      ue.'
                                                                                                                                                                         t.:
                                                                                                                                                                           Qrfl
                                                                                                                                                                              *x
    Mdvnh.ellwtaoodlna ..kl
                          .j
                           g
                           .ml.a .t.ltld
                                       =l
                                        .nrf   .
                                              ltlfiN.l
                                                   zd.a
                                                      .z.t .
                                                           eu)âico.n
                                                                   ..
                                                                    4%.'up
                                                                         .e
                                                                          ..a:aâ
                                                                               Ndr+oc
                                                                                   ...f ..
                                                                                         uhwd
                                                                                            .,.N
                                                                                               .eab$  w
                                                                                                      '-cpa
                                                                                                      nt  ...,
                                                                                                             't'
                                                                                                               lûa   7z.v
                                                                                                                        'ot ' dl  .az.r
                                                                                                                                      ,
                                                                                                                                      gatzp.ic.o
                                                                                                                                               zm
                                                                                                                                                .

         *
         Af'
           &
           !
           MrF
             t
             .
             c<
              ls
               .J'
                ;j
                 h
                 ***
                 nz#;'
                     '
                     p
                     ë
                     l*i
                      ajx
                        u
                        cN
                        ( Vd
                           &.yù
                           '  'oj
                                jjj
                                  u
                                  jjap.
                                     'g;
                                      :,.
          1C
           .* Uj;E2.n8.At omn
                           ;.
                            . ..d:
                                 .JE
                                  ,.
                                    .q  ..
                          ,f
                           tkt,tùzte
                             ..      3490
          Mi
         .' q *
              ' 'ë
           . ... # r-s
                     J.ii
                        fl
                         q
                         ' .
                           1
                           8 3
                         . ',.:
                              1*c
                                t'
                                 .
                                 1    ;    .                                      .
                                                                                  ... .
              .l
              1t'
                lt-orf/
                      v
                      Tpdfht e
                             f
                             -
                             ubtlale .( 1z.'..'npfm.Ari(
                                                       .1
                                                         .olitbrs'
                                                                 .
         RE.'.Dnta'Pre:. s.t .Jon'       '
                                  .llëm. 4'    n.t'
                                                  .r fm
                                                      ..s.ilk$qco.tk.n,t..ub
                                                                           slvpkj. ltzt.dlj
                                                                                 z;.      ,
                                                                                          'tr..ko
                                                                                          .       t1
                                                                                                .w. ..yz
                                                                                                   .:
                                                                                                    1  .t'f'r).$.!x
                                                                                                                  .,.t. t.tfJo
         F1!
           .4
            0
            ,I' ee-,.at.4
                        ,1
                         Lr'
                           .Me . d  .!
                                     1.;
                                       .',#et..a'Ie..         '' '' ''' '                           '' '
          .    .!    . . .  .
         Cq /.eN tlz'
                    1;#.:t
                         .444.    1('S
                              6.5*.
                                  l
                                   ...
                                      .''
                                        y
                                        !
                                        rls.
                                           (;
                                            ,
                                            ltè
                                              )
         rk'
           éivc'i
                jéioi
                    '
                    iàdi,
          '
         .                                                     ,                                              .J'     ..            ..                       '
                                                                                                                                                             ;                  '.                         .
         p'
          u.tjuap.ttot/oursnrnfxia
                                 .yol
                                    '
                                    kement,     .,r
                                          âz,eout
                                                l ,
                                                  p'lpfyxqcgd.intl
                                                                 jêtah'ovkzrcaptî    m atw.r'
                                                                                oflyd'      .à
                                                                                             /zl.
                                                                                                .
                                                                                                h'
                                                                                                 - abki
                                                                                                      cor alt
                                                                                                            y.d
                                                                                                              'emuad.
                                                                                                                    ti-
                                                                                                                      a'
                                                                                                                       a.
                                                                                                                        ipjl
                                                                                                                           rttkdëz.
         '
         1
         7f
          'esé
          1   ikétibnL'cfàI
                         ;ltl
                            u.
                             ;
                             kti'î'
                                  ij
                                   .
                                   e'r
                                     .
                                     ttb'kt li,ik
                          . :k... ....s./h.... :
                                                m
                                                .'il:tz
                                                      è.é hrr/àhûbs'        fid'
                                                                               1   '.
                                                                               irh/tr.l.i
                                                                                    i'
                                                                                     a  .
                                                                                        #
                                                                                        '*'
                                                                                          isr
                                                                                            '
                                                                                            d
                                                                                            'k'      .
                                                                                              rylâtîti
                                                                                                     j.to/or!
                                                                                                           ''
                                                                                                            ti
                                                                                                             é
                                                                                                             ;rïi
                                                                                                                tm'
                                                                                                                  ....i
                                                                                                                      .tiè d..'
                                                                                                                              t r
                                                                                                                                x
                                                                                                                                h rb  ljh'.
                                                                                                                                   ,.vi   t.
                                                                                                                                         ..'
                                                                                                                                           l
                                                                                                                                           )i'   à
                                                                                                                                             eli.i
                                                                                                                                                 .a
                                                                                                                                                  h.q'
                                                                                                                                                           .s':.
                                                                                                                                                     itfdriï                         .         .     .
         J
         .
         .!
          .
           ; . ..:. '..
         ''ê    .
             f1.i-?Lt       71.f
                        r.ilf
                    .z't-      !.
                                )!
                                 .J
                                    .
                                 .: ':,dt .
                                  !r:lpqtil
                                          'tL.i:  u..,  .;ptyvt,....j...!.:, k. .$..... x.s.:.. q .
                                                        x
                                                        )
                                                        $.ik.t--.f:7,6
                                               1JTk-#tii'            '
                                                                     1
                                                                     .t
                                                                      it,'        . .. . ,
                                                                                                 '   ,   .   ..
                                                                                                            .. ..    . ...,... . ... .
                                                                                                                  ' ''
                                                                                                                       ...,:  r..
                                                                                                                              ''
                                                                                                                                ..?
                                                                                                                                !          q :.
                                                                                                                                         ....   .
                                                                                                                                                    .              , . ..
                                                                                                                                                                        ,. .
                                                                                                                                                                             ., .        . .... ,, .. ..



         .hfèih
         T      dlkiér s'lmtf
              .:..< .. .    .
                             s'qnotlin'Jt.èd
                                           '6'.;
             1#Al rln
                    iiofTz4poI
                             .1
                              . d : (i
                                     e4  l
                                         lflikitlal4ntiêktkfrtùt)
                                                           .
                                                               .'.
                                                                 it
                                                                  )s'f,
                                                                      t
                                                                      bitltlLthtlf
                                                                              .  zddrkhot.'
                     '
             2kA. .1m/l
                    .       q#'  pr.er
                                     yhlablts-f!)
                                              '
                                              . K..
                                                  h.py
                                                     '
                                                     **d.Itl'uny1134
                                                                   'g'd.
                                                                       l'
                                                                        .
                                                                        l
                                                                        f)p. q.
                                                                              ènM'
                                                                                 fltll
                                                                                     à.
                                                                                      k.
                                                                                       ;
                                                                                       '
                                                                                       atlbrl
                                                                                            )
             3;'N1szwerI:b:afkdlheâp)           gabéae mxréce tlng'lpe:ddl:sie:'Nme<>mp>lkandtr
                                                                                              otlNhAdatai
                                                                                                        .
                'ckesklo:q.sz                  :.            .;':.:. >l.. JL .. ' .
                                     .    .
              4.à   ..
                                 '..1.:milb       ' x'  adki  , w'f2r
                                                                    .t,
                                                                      .l.:beak'ea'et.r .'
                                                                                        ;
              1
              5:
               'àii.f
                    'y.'
                       ltt  .id.'
                                lprtbi'   it.k
                                             ù.l
                                               è  qùi  rkd
                                                         '1i:1G'  'â?.f
                                                                      6c'ti::.
                                                                      .         thi?-.$d4(:-
                                                                                7      '   u'
                                                                                            j:
                             .. .              ..    .                .                 v   ..y.!. ..      .. . ,.          :
                                                                                                                            .                   1
         'fl
           heindkkilte..41.ortlil&....pt.;çf?uql.lt1:..uQa)pnu!'li4a.t.1ol1s...cot1e. y1l)4ttk. ..R.tlle1'
                                                                                                         1Vû.t.ltl1'f(J.S$tll.(?
                                                                                                                         tt
                                                                                                                          '
                                                                                                                          ,    1)s'
                                                                                                                                  .
                                                                                                                                  tnthl.ô.i
                                                                                                                                          fnût.t
                                                                                                                                               akl .i
                                                                                                                                                  .:spptefttkllyt'
                                                                                                                                                                 qatlrf
                                                                                                                                                                      '
                                                                                                                                                                      ôl4fE
              * tûn'  Rflt'Qf'   -atetrest'
                                 r            ana  '1'
                                                     v
                                                     .k
                                                      ult:
                                                         a
                                                         '
                                                         f1
                                                          ;'
                                                           .


                     #.Dnélhoti
                              zed'plr#tlpatioh'of'
                                                 àcN'
                                                    erez
                                                       gnifll
                                                       a    .urrterlalil
                                                                       ies,
                     *.F.
                        éiei
                           'à1Rihl
                                 a:o.
                                    ti
                                     .
                                     stf;
                                        ltt'
                                           ('
                                            k
                                            jupd.itté:..
                                                       bl.
                                                         t'
                                                          1,ds',à'
                                                                 i.'
                                                                   t.:.4:
                                                                   7    7''
                                                                          t
                                                                          .t
                                                                           h
                                                                           rpf
                                                                           . ,i
                                                                              k
                                                                              ''
                                                                               dti
                                                                                 k
                                                                                 bny-.
                                                                                   .             .           .      . ..

         T'
          h'
           isleytju
                  't',
                     e'
                      éàkezi
                           uàb'
                              .a'Zl
                               '  iti:itl
                                        ùtihbidmùtl '
                                                    iuk.'
                                                        M y.f'i'
                                                               ilurè'loh
                                                                       .
                                                                       x
                                                                       t'ik
                                                                          qœfkér,
                                                                                'lkkâ'tit'E
                                                                                e         ''
                                                                                           slk4T.
                                                                                                r>'ktadtitiitti
                                                                                                              hilît6.erqùùed1:1th.
                                                                                                                                 11lk
                                                                                                                                    a
                                                                                                                                    ''C'
                                                                                                                                       aùttq
                                                                                                                                           ulidtiir
                                                                                                                                                  F/d 9.
                                                                                                                                                       '
         Qv:R..kj7..an.
                      :!j
                        magb.'q,,'j
                                 gM .j
                                     jK t
                                        t
                                        .
                                        ,j.gpp/tfogrj
                                         .          utz.
                                                    .   qa!'j.
                                                        .     jtl4
                                                                 .'y:.r ..' ..  '. ' . ..,2.' '  .                        . .'  . t. '. . ' .'
         Slncerblfj

         J6ik,
             ?Al
             '
               ij'
                 iyidftfkt
                         ld
                         '
                           fbtjqo'
                          ' ' G
          ..

         1
         ,
         /1i!
            :
            lt)t
               ,1
                .f
                 -
                 :
                 (flr-
                     f'
                      (
                      1t)d
                         )l
                          ''
                           ï:
                            ).1Lf#.t-yrp'.'
         I
         v
         ,anRsFr
         .     em.d.e;s
                      ..t
                        )'.
         y .)f
         k4t zlak     21hd.4
                :l1fz4.    ..iAt
                           ,   j




                                                                                                                                                                                                                 22
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 24 of 28




                       U N ITE D STA TE S D IST R IC T C O U R T

                       SO U TH E R N D IST R IC T O F FL O R ID A

   C ase N o.1:25-cv-20465-BB

   IVAN R. FREITES C., M IGUEL ENRIQUE OTERO, and JORGE ALEJANDRO
   R OD R IG U EZ,

      Plaint@j'
              ,


   H O M C IO M ED U A ,eta1.,

      Defendants.
                                                         I

   IPROPOSEDI ORDER GRANTm G PLAINTIFFS' EXPEDITED POST-JUDGM ENT
   M OTION     FOR    SAN CTION S, REFERRA L TO G RIEVAN CE CO M M ITTEE, AN D

   POST-JUDGM ENT DISQUALIFICATION FINDING
   TH IS M ATTER is before the Court on Plaintiffs' Expedited Post-ludgm ent M otion for

   Sanctions,Referralto Grievance Committee,and RequestforEvidentiaryHearing.Upon careful

   review ofthe M otion,the record in this case,the applicable rulesofprofessionalconduct,and

   the Court's inherent authority to enforce ethical compliance and protect the integrity of its

   proceedings,itishereby'
                         .

   O RD ER ED AN D AD JUD G ED thatPlaintiffs'M otion is GR AN TED IN PA RT asfollow s:

   1. R eferralto G rievance C om m ittee :

     The Courtrefers the conduct of the law 11711 D iaz Reus & Targ,LLP ,including attorneys

   M ichaelD iaz Jr.,JavierC oronado,B eatriz Colom ar,and G âborG azs6 von K lingspor,to the A d

   H oc C om m ittee on A ttom ey A dm issions,Peer Review ,and A ttorney G rievance ofthe Southern


                                                                                                23
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 25 of 28




   Districtof Florida forinvestigation ofpotentialviolationsofthe Florida Rules ofProfessional

   Conduct,includingbutnotlim itedto Rules 4-1.6 , 4-1.9 ,and 4-1.10 .

   2. M onetary and N on-M onetary Sanctions :

      As a partialremedy fortheprejudicialand improperconductoutlined in theM otion,and
   pursuantto theCourt'sinherentauthorityand 28U.S.C.j 1927,theCourtimposesthefollowing
   sanctions:

     -
         Diaz Reus & Targ,LLP shallpay $                   to Plaintiffsaspartialreim bursementfor
   costs incurred in cormection with conflict-related litigation and discovery eflbrts,with fmal

   amountto be determ ined aftersubmission ofaverified coststatefnentforthelitigation expenses

   incurredwithin 14 daysofthisOrder.
     -   Additionally,DRT attorneys shallcomplete,within 60 days,a Court-approved CLE ethics

   colzrse addressing contlictsofinterestand firm -wideimputation undertheFloridaBarRulesand

   submitcertitkationofcompletion.
   3. Post-ludgm entDisqualitk ation Finding :

     The Courthereby entersa post-judgmentfinding thatDRT wassubjectto disqualilcation
   under Florida Rules of ProfessionalConduct 4-1.9(a) and 4-1-.10(a) based on itsprior
   representation of Plaintiff Jorge Alejandro Rodriguez and the imputed conflict introduced
   tilrough attom ey Gâbor Gazsô. A ccordingly, the Court rules nunc pro tlm c that DRT'S

   continued participation in this m atter w as in violation of ethicalobligations,and thatPlaintiffs'

   m otionsatDE 30 and DE 144 werewell-founded.

   4. A ccounting ofIm proper C om m unications :

           DRT shall file, within 21 days of this Order, a sworn accounting of a1l

   com munications- including          m etadata- exchanged          using        the        address



                                                                                                  24
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 26 of 28




   pdvsaadhoc@ diazreus.com ,orothem ise involving PDVSA Ad HocorCITGO in relation to
   this case.This accounting shallinclude any instructions,coordination,or disclosures by or on

   behalfofthose entitiesrelevantto litigation strategy orrepresentation.

   5.ReferralofSardiLaw (Optional):
     The Court reserves discretion to considerthe referralofSardiLaw and any associated counsel

   for separate disciplinary review upon furtherm otion orshowing.

   6. AdditionalR elief:

     The Courtfurtherfinds thatthe Certificate ofConferralaccompanying Defendants'filing at

   DE 107 contains statem ents that are inconsistentwith the record and m isrepresentPlaintiffs'

   position.Accordingly,Plaintiffs' objections at DE 110 are SUSTAINED ,and the Court
   VACATES any prior orders entered based upon that misrepresented conferralto the extent

   necessarytopreventprejudice.
   7. R etention ofJurisdiction :

     TheCourtretainsjurisdiction to supervisecompliancewith thisOrder,includingenforcement
   ofsanctions,adjudication ofthefinalcostamount,andany furtherremedialmeaslzreswarranted
   by the findings ofthe G rievance Com m ittee.

   DONEANDORDEREDinChambersatMiami,Florida,thisYgdayof                                ,2025.


   TheHon.BETH BLOOM

   U N ITED STATES D ISTRICT JU DG E



   Copiesto:Al1counseland partiesofrecord



                                                                                            25
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 27 of 28




          CERTIFICATE OF CONFERM L PURSUANT TO LOCAL RULE 7.1(a)(3)
   Plaintiffshereby certify that,pursuanttoLocalRule7.1(a)(3)oftheLocalRulesoftheUnited
   States DistrictCourtfor the Southern D istrictof Florida,no conferralis required for the instant

   motion becauseitisapost-judgmentmotion. Nonetheless,in anabundanceofcaution and in
   theinterestofjudicialeconomy,on oraboutM ay16th,Plaintiffsreachedouttocounselfor
   Defendants via electronic com m unication to conferon al1issues related to the Court'sFinal

   Orderand Judgment(ECF No.165),including thereliefsoughtherein. W hileDefendantsdid
   notansw er in the expected tim e of several days,a belated reply w asreceived w here D efendants

   opposedanypost-judgementrelief


   Respectfully subm itted,



   Ivan R .FreitesC .
                                                   i
                                                   j.
                                                    l
                                                    q
                                                    jl
                                                     :
                                                     i   1
                                                         j
                                                         y
                                                         -
                                                     j-, $
                                                         ;
                                                         :
                                                         .
                                                         r
                                                         -
                                                         ,
                                                         -
                                                         ..
                                                          ,
                                                          .
                                                          -
                                                          .
                                                          --
                                                           ,
                                                           .
                                                           .
                                                           -
                                                           -
                                                           --
                                                            ,
                                                            '
                                                            .
                                                            -
                                                            ,
                                                            .
                                                            >
                                                            '-.-.




   4370 N W 107 Ave.,A pt.102

   D oral,FL 33178




                                                                                                26
Case 1:25-cv-20465-BB Document 172 Entered on FLSD Docket 05/23/2025 Page 28 of 28




                                    C ERTIFICATE O F SERVICE

   I HEREBY CERTIFY thaton M ay 18,2025,a true and correctcopy ofthe foregoing M otion   ,




   w asfiled w ith the Clerk ofCourt.



   Ivan R.FreitesC.                                 jt...z.
                                                          x''' ..          ' ,
   4370 N W 107 Ave.,Apt.102

   Doral,FL 33178




                                                                                   27
